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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 ROBERT G. LINENWEBER,                                Case No. 3:20-cv-408
 Individually and On Behalf of All Others
 Similarly Situated,

                                    Plaintiff,
                                                      JURY TRIAL DEMANDED
                        v.

 SOUTHWEST AIRLINES CO., GARY C.
 KELLY, and TAMMY ROMO,

                                    Defendants.


                                 CLASS ACTION COMPLAINT

       Plaintiff Robert G. Linenweber (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

the Defendants’ public documents, conference calls and announcements made by Defendants,

United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

releases published by and regarding Southwest Airlines Co. (“Southwest” or the “Company”),

analysts’ reports and advisories about the Company, and information readily obtainable on the

Internet. Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.




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                                  NATURE OF THE ACTION

          1.   This is a federal securities class action on behalf of a class consisting of all persons

other than Defendants who purchased or otherwise acquired Southwest securities between

February 7, 2017 and June 25, 2019, both dates inclusive (the “Class Period”), seeking to recover

damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

          2.   Southwest was founded in 1967 and is based in Dallas, Texas. The Company

operates a passenger airline that provides scheduled air transportation services in the U.S. and

near-international markets. Southwest is regulated by, among other government entities, the

Federal Aviation Administration (“FAA”), the sub-agency of the U.S. Department of

Transportation (“DOT”) that regulates civil aviation in the U.S. and its surrounding international

waters.

          3.   Southwest’s operations have been plagued by non-compliance and maintenance

issues with its flight services for over a decade, often exacerbated by the Company’s repeated

denials of wrongdoing and self-touted remediation efforts. For example, according to the Wall

Street Journal, the FAA’s certificate-management office overseeing Southwest faced significant

controversy over a decade ago “when congressional investigators discovered that local agency

managers had allowed the airline to continue flying tens of thousands of passengers on nearly two

dozen aircraft without completing mandatory structural inspections.” Additionally, “[i]n 2009,

Southwest agreed to pay $7.5 million in penalties to settle allegations that it operated 46 aircraft

on 60,000 flights without completing mandatory maintenance checks for potential fuselage

cracks.”



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       4.      Notwithstanding these widely reported issues, Southwest has continually denied

any wrongdoing, while insisting that it has remained compliant with applicable government

maintenance and safety regulations.

       5.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Southwest’s

operations were non-compliant with government maintenance and safety regulations; (ii) the

foregoing issues were exacerbated by Southwest’s undue influence over FAA officials and,

consequently, lax regulatory oversight of the Company’s operations; (iii) all of the foregoing

significantly increased the safety risks to passengers traveling on Southwest flights and heightened

governmental scrutiny into the Company; and (iv) as a result, the Company’s public statements

were materially false and misleading at all relevant times.

       6.      On April 17, 2018, news sources reported that a Southwest plane had blown an

engine, which exploded and caused shrapnel to strike the plane. The explosion resulted in the

death of one passenger, who was partially pulled through a large hole as the cabin suffered rapid

decompression, and injured seven others.          According to the Chairman of the National

Transportation Safety Board (“NTSB”), the incident marked “the first passenger fatality in a U.S.

airline accident since 2009,” and that, out of twenty-four fan blades in the engine at issue, one was

missing.

       7.      On this news, Southwest’s stock price fell $0.62 per share, or 1.13%, to close at

$54.27 per share on April 17, 2018.

       8.      On April 19, 2018, during pre-market hours, the FAA announced that it would

“order inspections of at least 220 aircraft engines as investigators are focusing on a broken fan



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blade in an engine that exploded.” According to news sources, the order was initially proposed in

August 2016, following the earlier incident in which engine failure had also resulted from a broken

fan blade. Critics also reportedly questioned why the FAA had not acted sooner in conjunction

with their European counterparts.

       9.      On this news, Southwest’s stock price fell $1.02 per share, or 1.83%, to close at

$54.80 per share on April 19, 2018.

       10.     On June 21, 2018, near the end of the trading session, news sources reported that

eight passengers were suing Southwest in connection with the engine explosion in April 2018.

       11.     On this news, Southwest’s stock price fell $1.24 per share, or 2.33%, to close at

$51.91 per share on June 22, 2018.

       12.     Finally, on June 25, 2019, during after-market hours, the Wall Street Journal

published an article entitled “FAA Reassigns Senior Managers in Office Overseeing Southwest

Airlines,” which reported that the FAA had “removed three senior managers in the office

overseeing Southwest Airlines Co., amid allegations of lax safety enforcement raised by agency

whistleblowers and various resulting government inquiries.” The article also noted that “[t]he

[DOT]’s inspector-general has been looking into some of the safety issues for many months . . .

including lapses by the airline in documenting maintenance for more than 100 of its jets,” as well

as “failures to reliably compute the weight of checked baggage and hazardous landing incidents in

which one aircraft smacked a wingtip on the tarmac and another ran off the strip in stormy

weather.”

       13.     On this news, Southwest’s stock price fell $0.30 per share, or 0.59%, to close at

$50.70 per share on June 26, 2019.




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       14.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       15.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       16.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       17.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Southwest is headquartered in this Judicial District,

Defendants conduct business in this Judicial District, and a significant portion of Defendants’

actions took place within this Judicial District.

       18.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                             PARTIES

       19.     Plaintiff, as set forth in the attached Certification, acquired Southwest securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.




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        20.     Defendant Southwest is incorporated in Texas, with principal executive offices

located at P. O. Box 36611, Dallas, Texas. Southwest’s securities trade on the New York Stock

Exchange (“NYSE”) under the ticker symbol “LUV.”

        21.     Defendant Gary C. Kelly (“Kelly”) has served as Southwest’s Chairman of the

Board, President, and Chief Executive Officer at all relevant times.

        22.     Defendant Tammy Romo (“Romo”) has served as Southwest’s Chief Financial

Officer at all relevant times.

        23.     Defendants Kelly and Romo are sometimes referred to herein as the “Individual

Defendants.”

        24.     The Individual Defendants possessed the power and authority to control the

contents of Southwest’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of Southwest’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Southwest, and their access to material information available to them but not to the public,

the Individual Defendants knew that the adverse facts specified herein had not been disclosed to

and were being concealed from the public, and that the positive representations being made were

then materially false and misleading. The Individual Defendants are liable for the false statements

and omissions pleaded herein.

        25.     Southwest and the Individual Defendants are collectively referred to herein as

“Defendants.”




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                               SUBSTANTIVE ALLEGATIONS

                                           Background

       26.      Southwest was founded in 1967 and is based in Dallas, Texas. The Company

operates a passenger airline that provides scheduled air transportation services in the U.S. and

near-international markets. Southwest is regulated by, among other government entities, the FAA,

which is a sub-agency of the DOT that regulates civil aviation in the U.S. and its surrounding

international waters.

       27.      Southwest’s operations have been plagued by non-compliance and maintenance

issues with its flight services for over a decade, often exacerbated by the Company’s repeated

denials of wrongdoing and self-touted remediation efforts. For example, according to the Wall

Street Journal, the FAA’s certificate-management office overseeing Southwest faced significant

controversy over a decade ago “when congressional investigators discovered that local agency

managers had allowed the airline to continue flying tens of thousands of passengers on nearly two

dozen aircraft without completing mandatory structural inspections.” Additionally, “[i]n 2009,

Southwest agreed to pay $7.5 million in penalties to settle allegations that it operated 46 aircraft

on 60,000 flights without completing mandatory maintenance checks for potential fuselage

cracks.”

       28.      Despite continued headlines regarding these issues, Southwest has continually

denied any wrongdoing, while asserting it has remained compliant with applicable government

maintenance and safety regulations.

           Materially False and Misleading Statements Issued During the Class Period

       29.      The Class Period begins on February 7, 2017, when Southwest filed an Annual

Report on Form 10-K with the SEC, reporting the Company’s financial and operating results for



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the quarter and year ended December 31, 2016 (the “2016 10-K”). The 2016 10-K represented

that the Company “performs substantially all line maintenance on its aircraft and provides ground

support services at most of the airports it serves,” and that “the Company has arrangements with

certain aircraft maintenance firms for major component inspections and repairs for its airframes

and engines, which comprise the majority of the Company’s annual aircraft maintenance costs.”

       30.     Additionally, the 2016 10-K touted specific maintenance, safety, and compliance

aspects of the Company’s operations, including that “Southwest’s use of a single aircraft type has

allowed for simplified . . . maintenance, flight operations, and training activities” and that “the

Company has policies and procedures in place that are designed to promote compliance with the

laws of the jurisdictions in which it operates.”

       31.     Appended as an exhibit to the 2016 10-K were signed SOX certifications, wherein

the Individual Defendants certified that “[t]he [2016 10-K] fully complies with the requirements

of Section 13(a) or 15(d) of the Securities Exchange Act of 1934, as amended,” and that “ [t]he

information contained in the [2016 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

       32.     Then, on February 7, 2018, Southwest filed another Annual Report on Form 10-K

with the SEC, reporting the Company’s financial and operating results for the quarter and year

ended December 31, 2017 (the “2017 10-K”). The 2017 10-K contained substantively the same

representations described in ¶¶ 29-30 supra, concerning Southwest’s purported maintenance,

safety, and compliance efforts.

       33.     Additionally, the 2017 10-K touted Southwest’s “participat[ion] in Required

Navigation Performance (‘RNP’) operations as part of the FAA’s Performance Based Navigation

program, which is intended to modernize the U.S. air traffic control system by . . . making more



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safe and efficient use of airspace,” and that participation in this program “improve[s] operational

capabilities by opening up many new and more direct airport approach paths to produce safer and

more efficient flight patterns.” According to the 2017 10-K, “[s]ince its first use of RNP in 2011,

Southwest has conducted approximately 58,000 RNP approaches, including over 19,000 in 2017.”

       34.     Appended as an exhibit to the 2017 10-K were signed SOX certifications, wherein

the Individual Defendants certified that “[t]he [2017 10-K] fully complies with the requirements

of Section 13(a) or 15(d) of the Securities Exchange Act of 1934, as amended,” and that “ [t]he

information contained in the [2017 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

       35.     The statements referenced in ¶¶ 29-34 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operational and compliance policies.               Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Southwest’s

operations were non-compliant with government maintenance and safety regulations; (ii) the

foregoing issues were exacerbated by Southwest’s undue influence over FAA officials and,

consequently, lax regulatory oversight of the Company’s operations; (iii) all of the foregoing

significantly increased the safety risks to passengers traveling on Southwest flights and heightened

governmental scrutiny into the Company; and (iv) as a result, the Company’s public statements

were materially false and misleading at all relevant times.

                                  The Truth Begins to Emerge

       36.     On April 17, 2018, news sources reported that a Southwest plane had blown an

engine, which exploded and caused shrapnel to strike the plane. The explosion resulted in the

death of one passenger, who was partially pulled through a large hole as the cabin suffered rapid



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decompression, and injured seven others. According to the Chairman of the NTSB, the incident

marked “the first passenger fatality in a U.S. airline accident since 2009,” and that, out of twenty-

four fan blades in the engine at issue, one was missing.

       37.     Southwest issued a press release the same day, assuring investors and passengers

that the Company’s “officials are in direct contact with the [NTSB] and the [FAA] to support an

immediate, coordinated response to this accident,” and that “Southwest is in the process of

gathering additional information regarding flight 1380 and will fully cooperate in an investigative

process.”

       38.     On this news, Southwest’s stock price fell $0.62 per share, or 1.13%, to close at

$54.27 per share on April 17, 2018, largely buffeted by the assertions the Company made regarding

its purported remedial efforts and cooperation with federal agencies, including the FAA.

       39.     Then, on April 19, 2018, during pre-market hours, the FAA announced that it would

“order inspections of at least 220 aircraft engines as investigators are focusing on a broken fan

blade in an engine that exploded.” According to news sources, the order was initially proposed in

August 2016, following the earlier incident in which engine failure had also resulted from a broken

fan blade. Critics also reportedly questioned why the FAA had not acted sooner in conjunction

with their European counterparts.

       40.     On this news, Southwest’s stock price fell $1.02 per share, or 1.83%, to close at

$54.80 per share on April 19, 2018. However, the Company’s stock price continued to trade at

artificially inflated prices throughout the Class Period as a result of Defendants’ continued denials

of wrongdoing and minimization of safety issues.

       41.     On June 21, 2018, near after-market hours, news sources reported that eight

passengers were suing Southwest in connection with the engine explosion in April 2018.



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         42.   On this news, Southwest’s stock price fell $1.24 per share, or 2.33%, to close at

$51.91 per share on June 22, 2018. However, the Company’s stock price, again, continued to trade

at artificially inflated prices throughout the Class Period as a result of Defendants’ continued

representations regarding Southwest’s maintenance, safety, and compliance measures.

         43.   For example, on February 5, 2019, Southwest filed an Annual Report on Form 10-K

with the SEC, reporting the Company’s financial and operating results for the quarter and year

ended December 31, 2018 (the “2018 10-K”). The 2018 10-K contained substantively the same

representations as described in ¶¶ 29-30 supra, concerning Southwest’s purported maintenance,

safety, and compliance measures.

         44.   Additionally, like the 2017 10-K, the 2018 10-K touted Southwest’s participation

“in Required Navigation Performance (‘RNP’) operations as part of the FAA’s Performance Based

Navigation program,” which purportedly “improve[s] operational capabilities by produc[ing] safer

and more efficient flight patterns,” and represented that “[s]ince its first use of RNP in 2011,

Southwest has conducted approximately 143,000 RNP approaches, including over 85,000 in

2018.”

         45.   Appended as an exhibit to the 2018 10-K were signed SOX certifications, wherein

the Individual Defendants certified that “[t]he [2018 10-K] fully complies with the requirements

of Section 13(a) or 15(d) of the Securities Exchange Act of 1934, as amended,” and that “[t]he

information contained in the [2018 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

         46.   The statements referenced in ¶¶ 43-45 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operational and compliance policies.             Specifically,



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Defendants made false and/or misleading statements and/or failed to disclose that: (i) Southwest’s

operations were non-compliant with government maintenance and safety regulations; (ii) the

foregoing issues were exacerbated by Southwest’s undue influence over FAA officials and,

consequently, lax regulatory oversight of the Company’s operations; (iii) all of the foregoing

significantly increased the safety risks to passengers traveling on Southwest flights and heightened

governmental scrutiny into the Company; and (iv) as a result, the Company’s public statements

were materially false and misleading at all relevant times.

       47.     On June 25, 2019, during after-market hours, the Wall Street Journal published an

article entitled “FAA Reassigns Senior Managers in Office Overseeing Southwest Airlines,” which

reported that the FAA had “removed three senior managers in the office overseeing Southwest

Airlines Co., amid allegations of lax safety enforcement raised by agency whistleblowers and

various resulting government inquiries.” The article also noted that “[t]he [DOT]’s inspector-

general has been looking into some of the safety issues for many months . . . including lapses by

the airline in documenting maintenance for more than 100 of its jets,” as well as “failures to reliably

compute the weight of checked baggage and hazardous landing incidents in which one aircraft

smacked a wingtip on the tarmac and another ran off the strip in stormy weather.”

       48.     On this news, Southwest’s stock price fell $0.30 per share, or 0.59%, to close at

$50.70 per share on June 26, 2019.

       49.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.




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                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        50.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Southwest securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        51.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Southwest securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Southwest or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        52.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        53.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.




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       54.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

             •     whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

             •     whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Southwest;

             •     whether the Individual Defendants caused Southwest to issue false and
                   misleading financial statements during the Class Period;

             •     whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

             •     whether the prices of Southwest securities during the Class Period were
                   artificially inflated because of the Defendants’ conduct complained of herein; and

             •     whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       55.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       56.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

             •     Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

             •     the omissions and misrepresentations were material;

             •     Southwest securities are traded in an efficient market;


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              •     the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

              •     the Company traded on the NYSE and was covered by multiple analysts;

              •     the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

              •     Plaintiff and members of the Class purchased, acquired and/or sold Southwest
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        57.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        58.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                               COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        59.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        60.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        61.       During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

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which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Southwest securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Southwest

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.

       62.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Southwest securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Southwest’s finances and business prospects.

       63.       By virtue of their positions at Southwest, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.



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       64.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Southwest, the Individual Defendants had knowledge of the details of

Southwest’s internal affairs.

       65.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.     Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Southwest. As officers and/or directors of a publicly-held company, the Individual Defendants

had a duty to disseminate timely, accurate, and truthful information with respect to Southwest’s

businesses, operations, future financial condition and future prospects.        As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of Southwest securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning Southwest’s business and financial condition which

were concealed by Defendants, Plaintiff and the other members of the Class purchased or

otherwise acquired Southwest securities at artificially inflated prices and relied upon the price of

the securities, the integrity of the market for the securities and/or upon statements disseminated by

Defendants, and were damaged thereby.

       66.     During the Class Period, Southwest securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Southwest

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired



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said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Southwest securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Southwest securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

          67.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          68.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          69.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          70.   During the Class Period, the Individual Defendants participated in the operation

and management of Southwest, and conducted and participated, directly and indirectly, in the

conduct of Southwest’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Southwest’s misstatement of income and expenses and false

financial statements.




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       71.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Southwest’s

financial condition and results of operations, and to correct promptly any public statements issued

by Southwest which had become materially false or misleading.

       72.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Southwest disseminated in the marketplace during the Class Period

concerning Southwest’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Southwest to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling persons” of

Southwest within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of

Southwest securities.

       73.     Each of the Individual Defendants, therefore, acted as a controlling person of

Southwest. By reason of their senior management positions and/or being directors of Southwest,

each of the Individual Defendants had the power to direct the actions of, and exercised the same

to cause, Southwest to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Southwest and possessed

the power to control the specific activities which comprise the primary violations about which

Plaintiff and the other members of the Class complain.

       74.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Southwest.




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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: February 19, 2020                                Respectfully submitted,


                                                        /s/ Willie Briscoe
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